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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE CLAIRE R. KELLY, JUDGE

GLOBAL FOOD TRADING CORP.,                                 :
                                                           :
Plaintiff,                                                 :
                                                           :   COURT NO. 21-cv-00263
v.                                                         :
                                                           :
UNITED STATES,                              :
                                                :
Defendant.                                      :
_________________________________________________

                               STIPULATION OF DISMISSAL

         PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of
the United States Court of International Trade, having filed a stipulation of dismissal signed by
all parties who have appeared in this action, hereby dismisses this action.

Dated: August 5, 2022

Respectfully submitted,                             Respectfully submitted,

Dated: August 5, 2022                               Dated: August 5, 2022

By: /s/ Don M. Obert                                BRIAN M. BOYNTON
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                                   ORDER OF DISMISSAL

This action, having been voluntarily stipulated for dismissal by all parties having appeared in the
action, is dismissed.

Dated: _____________________

                                                          Clerk, U. S. Court of International Trade


                                       By: ________________________________ Deputy Clerk




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